                      Case 2:18-cv-00939-MJP Document 33 Filed 07/19/18 Page 1 of 4



                                                                        The Honorable Marsha J. Pechman
 1
 2
 3
 4
 5
 6
 7
 8                                            UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF WASHINGTON
 9                                                     AT SEATTLE
10
11                                                           No. 2:18-cv-0939 (MJP)
     STATE OF WASHINGTON, et al.,
12                                                           DEFENDANTS’ NOTICE OF
                                   Plaintiffs,               SUPPLEMENTAL AUTHORITY
13               v.
14   UNITED STATES OF AMERICA, et al.,                       Noted For Consideration:
                                                             August 3, 2018
15                                 Defendants.
                                                             Oral Argument Requested
16
17
18
19
20
21
22
23
24
25
26
27
28

     DEFENDANTS’ NOTICE OF                                                         U.S. DEPARTMENT OF JUSTICE
     SUPPLEMENTAL AUTHORITY                                                           CIVIL DIVISION, OIL-DCS
     State of Washington, et al. v. United States, et al.,                        P.O. BOX 868 BEN FRANKLIN STATION
                                                                                         WASHINGTON, DC 20044
     Case No. 2:18-cv-00939 (MJP)                                                       TELEPHONE: (202) 305-0106
                                                                                        FACSIMILE: (202) 305-7000
                     Case 2:18-cv-00939-MJP Document 33 Filed 07/19/18 Page 2 of 4




 1               Defendants, by and through undersigned counsel, respectfully submit this Notice of
 2   Supplemental Authority to bring the Court’s attention to the July 19, 2018 decision by the
 3   United States District Court for the Southern District of New York in N.T.C. v. ICE, No. 18-cv-
 4   6428, Dkt. 20, slip op. (S.D.N.Y. July 19, 2018) (Exhibit 1). The court in N.T.C. addressed
 5   whether a putative class action “brought on behalf of children who were separated from their
 6   parents and are now being held in New York State” should be able to “seek to ensure that each
 7   class member has a meaningful opportunity to pursue asylum[.]” Id. at 2. Recognizing the
 8   substantive overlap with Ms. L. v. ICE, No. 18-cv-428 (S.D. Cal.), Judge Furman “conclude[d]
 9   for several reasons that Plaintiffs’ claims should be transferred to the Southern District of
10   California to be considered in conjunction with the claims in Ms. L.” Id. at 3. Notably, Judge
11   Furman’s opinion affirms many of the same arguments made in Defendants’ Motion to Transfer
12   Venue (Dkt. 22):
13               First, the … two cases concern the same families: Plaintiffs in this case seek relief
                 on behalf of children whose parents are class members in Ms. L. (Compare Order,
14
                 Ms. L., ECF No. 82, at 17, with Compl., ¶ 66). Second, the relief Plaintiffs seek in
15               this case is, at bottom, directly related to the reunification process being
                 supervised by Judge Sabraw. In essence, Plaintiffs here contend that they have
16               rights and interests distinct from the rights and interests of their parents and that
                 the reunification process, and Judge Sabraw’s own orders, do not adequately take
17
                 their distinct rights and interests into account. That may or may not be the case,
18               but Judge Sabraw is in a better position than this Court to decide those questions
                 and to modify his own orders if appropriate. And third, in the absence of a single
19               judge presiding over both cases, there is a real risk of inconsistent decisions and
20               conflicting orders — a particularly intolerable risk given the gravity and urgency
                 of the issues in these cases (and the prospect of similar litigation being filed in
21               other states where children separated from their parents are being held).
22   Id. at 3–4.

23               This same reasoning applies where the Plaintiff States seek to pursue many of the exact

24   same remedies and develop the same legal theories that are currently being litigated before

25   Judge Sabraw in Ms. L. If anything, the case for transfer is even strong here. In N.T.C., there

26   was at least a distinction between the interests of the children and those of their parents. In this

27   case, the States’ interests are fully derivative of the parents and children, both of whom are now

28   before the Ms. L. court. Recognizing that permitting the putative class action in N.T.C. to

     DEFENDANTS’ NOTICE OF                                                         U.S. DEPARTMENT OF JUSTICE

                                                             -1-
     SUPPLEMENTAL AUTHORITY                                                           CIVIL DIVISION, OIL-DCS
     State of Washington, et al. v. United States, et al.,                        P.O. BOX 868 BEN FRANKLIN STATION
                                                                                         WASHINGTON, DC 20044
     Case No. 2:18-cv-00939 (MJP)                                                       TELEPHONE: (202) 305-0106
                                                                                        FACSIMILE: (202) 305-7000
                     Case 2:18-cv-00939-MJP Document 33 Filed 07/19/18 Page 3 of 4




 1   continue in parallel to Ms. L. would lead to duplicative litigation, wastefulness, and potential for
 2   conflicting court orders, Judge Furman concluded that “the inconvenience to Plaintiffs … is
 3   vastly outweighed by the interests of justice, fairness, efficiency, and avoidance of conflict
 4   advanced by having a single judge presiding over both cases,” and ordered the case transferred.
 5   Id. at 4 (emphasis added). The inconvenience here is of course even less since one of the
 6   Plaintiffs is the State of California.
 7               There is consequently no reason why the States’ case should be treated differently from
 8   N.T.C.’s putative class of children—whose interests the States ostensibly wish to protect.
 9                                                                 Respectfully submitted,
10   DATED: July 19, 2018                                          CHAD A. READLER
                                                                   Acting Assistant Attorney General
11
12                                                                 WILLIAM C. PEACHEY
                                                                   Director
13
                                                                   EREZ REUVENI
14
                                                                   Assistant Director
15
                                                                   NICOLE N. MURLEY
16                                                                 Trial Attorney
17
                                                                   /s/ Joshua S. Press
18                                                                 JOSHUA S. PRESS
                                                                   Trial Attorneys
19                                                                 United States Department of Justice
20                                                                 Civil Division
                                                                   Office of Immigration Litigation
21                                                                 District Court Section
                                                                   P.O. Box 868, Ben Franklin Station
22                                                                 Washington, DC 20044
23                                                                 Phone: (202) 305-0106
                                                                   joshua.press@usdoj.gov
24
                                                                   Attorneys for the United States of America
25                                                                 and the Federal Defendants
26
27
28

     DEFENDANTS’ NOTICE OF                                                               U.S. DEPARTMENT OF JUSTICE

                                                             -2-
     SUPPLEMENTAL AUTHORITY                                                                 CIVIL DIVISION, OIL-DCS
     State of Washington, et al. v. United States, et al.,                              P.O. BOX 868 BEN FRANKLIN STATION
                                                                                               WASHINGTON, DC 20044
     Case No. 2:18-cv-00939 (MJP)                                                             TELEPHONE: (202) 305-0106
                                                                                              FACSIMILE: (202) 305-7000
                     Case 2:18-cv-00939-MJP Document 33 Filed 07/19/18 Page 4 of 4




 1                                                       CERTIFICATE OF SERVICE
 2               I hereby certify that on July 19, 2018, I electronically transmitted the foregoing
 3   document to the Clerk’s Office using the U.S. District Court for the Western District of
 4   Washington’s Electronic Document Filing System (ECF), which will serve a copy of this
 5   document upon all counsel of record.
 6                                                              By: /s/ Joshua S. Press
                                                                    JOSHUA S. PRESS
 7
                                                                    Trial Attorney
 8                                                                  United States Department of Justice
                                                                    Civil Division
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     DEFENDANTS’ NOTICE OF                                                                 U.S. DEPARTMENT OF JUSTICE
     SUPPLEMENTAL AUTHORITY                                                                   CIVIL DIVISION, OIL-DCS
     State of Washington, et al. v. United States, et al.,                                P.O. BOX 868 BEN FRANKLIN STATION
                                                                                                 WASHINGTON, DC 20044
     Case No. 2:18-cv-00939 (MJP)                                                               TELEPHONE: (202) 305-0106
                                                                                                FACSIMILE: (202) 305-7000
